
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

     No. 97-1623

                       JESSICA L. HAYDEN, NICOLE C. MERRILL AND
                                  COLLEEN M. RHOADS,

                               Plaintiffs, Appellants,

                                          v.

                           RICHARD GRAYSON, CHIEF OF POLICE
                            OF THE TOWN OF LISBON, ET AL.

                                Defendants, Appellees.

                                                    
                                 ___________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                 [Hon. Joseph A. DiClerico, Jr., U.S. District Judge]
                                                 ___________________

                                                    
                                 ___________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                       Godbold* and Cyr, Senior Circuit Judges.
                                         _____________________

                                                    
                                  __________________


          Edward M.  Van Dorn,  Jr., with  whom Brad  W. Wilder  and Van  Dorn &amp;
          _________________________             _______________      ___________
     Cullenberg were on brief for appellants.
     __________
          John T. Alexander, with whom  Michael Lenehan and Ransmeier &amp; Spellman
          _________________             _______________     ____________________
     P.C. were on brief for appellees.
     ____


                                                    
                                  __________________

                                   January 22, 1998
                                                    
                                  __________________




                         
     ____________________

          *Of the Eleventh Circuit, sitting by designation.














                    CYR,  Senior Circuit Judge.   Plaintiffs appeal  from a
                    CYR,  Senior Circuit Judge.   
                          ____________________

          district court judgment dismissing  their equal protection claims

          against  the Town  of Lisbon,  New  Hampshire, and  its chief  of

          police, Richard Grayson,  for failing to investigate  allegations

          that their  father abused them  sexually while they  were minors.

          We affirm.

                                          I
                                          I

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    Although   the   three  sisters   first   lodged  these

          allegations  in  1983,  Grayson  took no  action  other  than  to

          misrepresent  that  the   district  attorney   had  declined   to

          prosecute.   Seven years  later, after attaining  their majority,

          plaintiffs discovered Grayson's  misrepresentation and took their

          allegations to  the district attorney.  Their father presently is

          serving a lengthy  prison sentence, following his  conviction for

          aggravated sexual assault.

                    Plaintiffs filed  the instant  action against  the Town

          and  Grayson, in his individual and official capacities, claiming

          inter  alia  that  Grayson  refrained  from  investigating  their
          _____  ____

          allegations either  because plaintiffs were  female, children, or

          victims of  domestic sexual  abuse, and  that such selective  law

          enforcement  violated  their  individual rights  under  the Equal

          Protection Clause.  See U.S. Const. amend XIV; 42 U.S.C.   1983.1
                              ___

          In due  course, the equal  protection count against the  Town was

                              
          ____________________

               1It  is undisputed  that Grayson  at all  times acted  under
          color of state law.  See 42 U.S.C.   1983.
                               ___

                                          2














          dismissed for  failure to  state a claim.   See  Fed. R.  Civ. P.
                                                      ___

          12(b)(6).   Following  discovery, defendant  Grayson was  awarded

          summary  judgment  on   the  individual-capacity  claim   because

          plaintiffs  had  failed  to adduce  sufficient  evidence  that he

          intended to  discriminate due to  their membership in any  of the

          three classes alleged  in their  complaint.   The district  court

          thereafter   denied    plaintiffs'   postjudgment    motion   for

          reconsideration.  See Fed. R. Civ. P. 59. 
                            ___

                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

          A.   The Equal Protection Claim Against Grayson2
          A.   The Equal Protection Claim Against Grayson
               __________________________________________

                    The  Fourteenth Amendment mandates  that no State "deny

          to any person within its jurisdiction the equal protection of the

          laws."    U.S. Const.  amend  XIV.   Thus,  although there  is no

          constitutional right  to police  protection, State executive  and

          law enforcement  officials  may  not  "selectively  deny  .  .  .

          protective services to certain  disfavored minorities."  DeShaney
                                                                   ________

          v. Winnebago County Dep't of Social Servs., 489 U.S. 189, 197 n.3
             _______________________________________

          (1989).

                    Plaintiffs  rely on City of Cleburne v. Cleburne Living
                                        ________________    _______________

          Ctr., 473 U.S. 432 (1985), for their contention that the district
          ____

          court should not have applied the equal protection test governing

                              
          ____________________

               2After  examining all competent  evidence in the  light most
          favorable to the party opposing summary judgment, we are required
          to make a de novo determination as to whether a trialworthy issue
                    __ ____
          remained or the moving party was entitled to judgment as a matter
          of  law.   See Dominique v.  Weld, 73  F.3d 1156, 1158  (1st Cir.
                     ___ _________     ____
          1996).  

                                          3














          race   and  gender   classifications,  which   necessitated  that

          plaintiffs show  that Grayson  acted with  discriminatory intent.

          Instead,  plaintiffs argue, in cases involving less invidious but

          nonetheless arbitrary classifications,  such as child victims  of

          domestic sexual abuse, Cleburne simply envisions  that plaintiffs
                                 ________

          prove  that the defendant's  decision lacked a  "rational basis,"

          without regard to any discriminatory intent.3

                    Plaintiffs misconstrue  the Cleburne  decision.   There
                                                ________

          the  Supreme  Court  expressly  noted  the  finding  made  by the

          district  court  that  the municipality's  principal  reason  for

          denying the requested zoning permit had been "that  the residents

          of  the  [plaintiff] home  would  be  persons  who  are  mentally

          retarded," id.  at 437, a  finding which was never  challenged on
                     ___

          appeal.   Thus, it  was only  because  the city's  discriminatory

          motive had been  established ab initio  that the Court  addressed
                                       __ ______

          whether the city  need demonstrate a "compelling"  or "important"

          state  interest     criteria theretofore  reserved  for race  and

          gender discrimination      or need simply  articulate a "rational

          basis" for its  decision.  Id. at 440-41.   Accordingly, Cleburne
                                     ___                           ________

          did not hold that no threshold proof of intent to discriminate is


                              
          ____________________

               3The  Equal Protection Clause  safeguards not merely against
          such  invidious classifications as race, gender and religion, but
          any   arbitrary  classification   of   persons  for   unfavorable
          governmental treatment.   Cf. Wayte  v. United  States, 470  U.S.
                                    ___ _____     ______________
          598, 608  (1985) (noting,  in relation  to selective  prosecution
          cases, that "the  decision to prosecute may not  be 'deliberately
          based  upon an unjustifiable standard  such as race, religion, or
          other arbitrary classification'") (emphasis added; citations  and
          _____ _________ ______________
          internal quotation marks omitted).

                                          4














          required   in   cases    involving   less   invidious   arbitrary

          classifications.4 

                    The motivation  underlying a municipal decision  is not

          always so apparent  as in Cleburne, of course,  especially if the
                                    ________

          challenged  decision does not  expressly single out  a particular

          class of persons  for disadvantageous  treatment.   Even in  such

          instances,  however,  members   of  the  plaintiff   class  quite

          understandably  may  consider  it  no  mere  coincidence  that  a

          facially neutral decision causes a disproportionately unfavorable

          impact on their particular class.  Nevertheless, even evidence of

          a  widely disproportionate impact on the plaintiff class normally

          is  not enough, standing alone,  to establish an equal protection

          violation.   See, e.g., Personnel  Adm'r of Mass. v.  Feeney, 442
                       ___  ____  _________________________     ______

          U.S.  256, 274-75 (1979) (upholding veteran's preference in civil

          service hiring,  although vast  majority of  veterans hired  were

          male).   Rather,  plaintiffs must  adduce  competent evidence  of

          "purposeful  discrimination."  Washington v. Davis, 426 U.S. 229,
                                         __________    _____

          243-44 (1976);  Soto v. Flores,  103 F.3d 1056, 1067  (1st Cir.),
                          ____    ______

          cert. denied, 118 S. Ct. 71 (1997).
          _____ ______

                    The  burden  is  an  onerous  one:     "'Discriminatory

          purpose' . . .  implies that the decisionmaker . .  . selected or
                              
          ____________________

               4The other case relied upon  by plaintiffs in this regard is
          to the same  effect.  See Navarro  v. Block, 72 F.3d  712, 715-16
                                ___ _______     _____
          (9th Cir.  1996) (vacating summary  judgment for County  on equal
          protection claim because there existed a  trialworthy issue as to
          whether County policy  according different treatment  to domestic
          and nondomestic violence  had a "rational basis," but  only after
                                                                      _____
          the  County had  conceded, arguendo  on  appeal, "that  it had  a
                                     ________
          policy  of affording  victims of  domestic  violence less  police
          protection").

                                          5














          reaffirmed a  course of action at least in part 'because of,' not
                                                           _______ __

          merely 'in  spite of,' its  adverse effects upon  an identifiable

          group."   Feeney,  442  U.S. at  279  (emphasis  added;  citation
                    ______

          omitted); Soto, 103 F.3d at  1067.  Thus, unless these plaintiffs
                    ____

          established the  requisite  discriminatory  intent,  their  equal

          protection  claim  cannot  succeed  even  assuming  the   Grayson

          decision not  to  investigate lacked  a  "rational basis."    See
                                                                        ___

          Village  of Arlington Heights  v. Metropolitan Hous.  Dev. Corp.,
          _____________________________     ______________________________

          429 U.S. 252, 265  (1977); Semple v. City of  Moundsville, 963 F.
                                     ______    ____________________

          Supp. 1416, 1433 (N.D. W. Va. 1997).

                    Plaintiffs claim  that the  district court  disregarded

          competent evidence  that Grayson  harbored "archaic  stereotypes"

          regarding female-child sexual abuse in  the home and singled  out

          its victims for  unfavorable treatment in determining  whether to

          investigate.    The  record does  not  support  their contention,

          however.5

                    At no time did Grayson indicate to anyone that he would

          not  investigate allegations  of child sexual  abuse in  the home
                              
          ____________________

               5Plaintiffs adduced no evidence that Grayson's reluctance to
          pursue criminal investigations was based on their gender.  On the
          contrary, plaintiffs  proffered evidence  that Grayson  failed to
          investigate a  1990 allegation  that a  12-year-old boy had  been
          sexually molested by his grandfather.   Nor did plaintiffs adduce
          statistical  or   other  evidence  relating  to  whether  females
          comprise  a majority  of (1) sexual  abuse victims;  (2) domestic
          sexual abuse victims; (3)  sexually abused minors; or (4)  minors
          sexually  abused  in  the  home.    Furthermore,  Officer  Boutin
          attested that though Grayson often did  not pursue allegations of
          crimes  committed against children if a nonoffending adult family
          member urged him  not to do so,  this "policy" did not  depend on
          whether the  victims were  male or  female.   See  infra note  8.
                                                        ___  _____
          Given  its serious deficiencies,  the gender classification claim
          quite properly was rejected by the district court.

                                          6














          because he  thought the  victims were  undeserving of  equal law-

          enforcement  protection.   Instead,  he  explained  to  a  fellow

          officer  that he  had  refrained  from investigating  plaintiffs'

          allegations at their  mother's request.6  Another  police officer

          confirmed that it  was Grayson's policy not to  intervene where a

          family  member (e.g., nonabusive parent or spouse) requested that
                          ____

          there be no investigation.

                    Plaintiffs essentially  claim, nonetheless,  that their

          evidence  supported,   respectively,  rational   inferences  that

          Grayson intended  to treat  all domestic  crime differently  from

          nondomestic crime, all  crimes against children differently  from

          crimes  against adults, and  all sexual abuse  crimes differently

          from nonsexual  crimes.7  Once  again the evidence does  not bear

          out their claim.

                    Plaintiffs' proffer disclosed  that the nonintervention

          policy  attributed to  Grayson may  have  been much  broader than

          plaintiffs allow, in that it applied not merely to domestic child

          sexual abuse, but to other crimes in circumstances where  general

          concerns  for family integrity  and family privacy predominated.8
                              
          ____________________

               6Specifically, the  mother told  Grayson that  "she did  not
          want the girls  involved in a prosecution."   Plaintiffs have not
          contested this evidence. 

               7The  district  court  reserved  the  question  whether  the
          evidence   relating  to   Grayson's  own   statements  would   be
          admissible.   See Fed.  R. Evid.  801(d)(2) (admission  by party-
                        ___
          opponent).

               8In  the  portion of  Officer Boutin's  deposition proffered
          below, the inquiry  is ambiguously phrased by plaintiffs in terms
          of how Grayson acted "in these kinds of cases" compared to "other
          [] more  conventional kinds  of crimes,"  without particularizing

                                          7














          Thus, their  proffer may be  seen to belie their  contention that

          Grayson  sought to discriminate  against them because  of, rather
                                                        _______  __

          than in  spite of, their status as  victims of child sexual abuse
               __  _____ __

          in  the  home.    See  Feeney,  422  U.S.  at  279.     Far  from
                            ___  ______

          demonstrating  general condonation of  child sexual abuse  in the

          home,  therefore,  the  proffer  simply  supported  a  reasonable

          inference that Grayson would investigate virtually any allegation
                                                             ___ __________

          of crime absent an appropriate request from a nonoffending spouse
          __ _____ ______

          to refrain  from intervention in circumstances  where legitimate,

          competing   family  interests   were   thought  to   predominate.

          Accordingly,  although  the evidence  may well  have demonstrated

          that  the Grayson nonintervention  policy had  a disproportionate

          adverse impact  in cases  involving allegations  relating to  the

          various victim classes in which plaintiffs claimed membership, it

          did not demonstrate that Grayson harbored a discriminatory animus

          toward those  victim classes.   Id. at  274 (upholding  veteran's
                                          ___

                              
          ____________________

          any   characteristic   of   these   alleged  crimes   which   was
                ______________
          unconventional  in their view  (e.g., domestic, sexual  abuse, or
                                          ____
          crimes  against children or  female victims), or  which triggered
          the  Grayson nonintervention  policy.    Perhaps  for  this  very
          reason,  then,  Officer  Boutin  ambiguously  responded  that the
          police "took  into [account]  what the mother  had to say  or the
                                                 ______              __
          victim's  rights  were, I  mean,  emotions  were,"  and  "if  the
          ______
          family's  wishes were  that  it didn't  get  prosecuted, then  it
          ______
          didn't."       Although   Boutin   allowed   that   the   Grayson
          nonintervention policy would apply to crimes against children, at
          no time  did he state that it applied exclusively to such crimes.
          These   unaddressed  ambiguities   plainly  invited   a  rational
          inference  that   the  challenged   nonintervention  policy   was
          predicated  on a  generalized concern  for  family integrity  and
          privacy, which would  be activated, for example, at  the instance
          of a  nonoffending spouse  even though  the allegations may  have
          related  to nonsexual criminal activity directed against an adult
          family member.

                                          8














          preference in civil service hiring,  even though vast majority of

          veteran hirees were male).

                    Similarly, plaintiffs presented  evidence that Grayson,

          on  two other  occasions, failed  to  investigate allegations  of

          child sexual abuse in  the home.  Once again, however,  there was

          no  evidence that  Grayson  was  motivated  by  a  discriminatory

          animus, as distinguished  from a neutral  nonintervention policy.

          Moreover,  Grayson proffered  undisputed  evidence  that  he  had

          investigated  at  least  two other  domestic  child  sexual abuse

          cases, as  well as  eight nondomestic  child sexual  abuse cases.

          Cf. Willhauck  v. Halpin, 953  F.2d 689, 712 (1st  Cir. 1991) (in
          ___ _________     ______

          analogous  context of equal protection claim founded on selective

          prosecution, "[i]t must  be shown that others  similarly situated

          have not been  prosecuted and that the decision  to prosecute has

          been motivated by an impermissible reason").

                    Finally, in  an ironic twist, the  discriminatory focus

          essential to plaintiffs' equal protection claims was irredeemably

          blurred  by their proffer that the Grayson nonintervention policy

          extended well beyond domestic child  sexual abuse cases (e.g., to
                                                                   ____

          DWI  and vandalism),  and may  even  have been  due to  Grayson's

          dishonesty, chronic lassitude,  alcohol abuse, or desire  to wage

          personal  vendettas against  particular  individuals rather  than

          groups.   See  New  Burnham  Prairie Homes,  Inc.  v. Village  of
                    ___  __________________________________     ___________

          Burnham,  910  F.2d  1474,  1481  (7th Cir.  1990)  (noting  that
          _______

          "[d]iscrimination based merely on individual,  rather than group,

          reasons   will  not  suffice"   to  establish   equal  protection


                                          9














          violation).  That is to  say, although their scattershot approach

          might enable a rational inference  that Grayson was a poor police

          chief,  it  cannot  sustain a  nonspeculative  inference  that he

          failed to investigate  these allegations because plaintiffs  were
                                                   _______

          children who  had been sexually abused, or because plaintiffs had
                                                     _______

          been sexually abused  in the home.   See Soto,  103 F.3d at  1072
                                               ___ ____

          ("Whether this  deplorable scenario  is  actionable under  Puerto

          Rican law we leave, as we must, to others.").9

          B.   The Equal Protection Claim Against the Municipality
          B.   The Equal Protection Claim Against the Municipality
               ___________________________________________________

                    The district court dismissed the equal protection count

          against the Town for failure to state a claim.  See Fed. R.  Civ.
                                                          ___

          P.   12(b)(6).    Eighteen  months  later,  plaintiffs  moved  to

          reinstate and amend the claim, see Fed. R. Civ. P. 15,  to allege
                                         ___

          that the  Town should be  held liable either because  Grayson was

          the  municipal official  who  instituted  the  official  "policy"
                              
          ____________________

               9The district court  denied plaintiffs' postjudgment  motion
          for reconsideration, see Fed. R.  Civ. P. 59, because their "new"
                               ___
          evidence of discriminatory  intent had been available  at summary
          judgment.  Plaintiffs  respond that Grayson's motion  for summary
          judgment failed to  put them on adequate notice  that he disputed
          their allegations of  discriminatory intent.  We  review the Rule
          59 decision only for manifest abuse  of discretion. See Vasapolli
                                                              ___ _________
          v. Rostoff, 39 F.3d 27, 36 (1st Cir. 1994).
             _______
               The  Grayson motion  could  not  have  been  more  explicit:
          "Defendant  Grayson denies any intent to discriminate against the
          plaintiffs  on any  basis."    Further,  "[t]he  plaintiffs  have
          produced  no evidence suggesting that defendant Grayson wanted to
          harm them because  they were women, or because  they were minors,
          or because they were alleged  victims of sexual assaults."  True,
          plaintiffs' default may  flow from their misreading  of Cleburne.
                                                                  ________
          See supra pp.  3-4.  Nevertheless, "[Rule 59] does  not provide a
          ___ _____
          vehicle for a party to  undo its own procedural failures, and  it
          certainly does  not allow  a party to  introduce new  evidence or
          advance arguments that  could and should  have been presented  to
          the district  court prior  to the judgment."   Aybar  v. Crispin-
                                                         _____     ________
          Reyes, 118 F.3d 10, 16 (1st Cir. 1997). 
          _____

                                          10














          against providing  law-enforcement protection to child victims of

          sexual  abuse in  the home,  see Monell  v. Department  of Social
                                       ___ ______     _____________________

          Servs. of  New York, 436 U.S. 658,  694-95 (1978), or because the
          ___________________

          Town  failed to train  Grayson adequately  to deal  with domestic

          child  sexual abuse,  which constituted  "much" or "most"  of the

          crime in the community.

                    The district court  denied the motion to amend,  on the

          ground that  its earlier  Rule 12(b)(6)  dismissal amounted  to a

          decision "on the merits" and, accordingly, the law of the case.10

          Even assuming the  rationale for the instant decision  were to be

          found infirm, see  Griggs v. Hinds Junior College,  563 F.2d 179,
                        ___  ______    ____________________

          180 (5th Cir. 1977) (noting that Rule 15 amendment is "especially

          appropriate  [] .  . .  when the  trial court  has dismissed  the

          complaint for  failure to  state a claim");  see also  Dussouy v.
                                                       ___ ____  _______

          Gulf Coast Inv. Corp., 660 F.2d 594,  598 n.2 (5th Cir. 1981), we
          _____________________

          would affirm on the ground that the proposed amendment would have

          been futile.   See  Levy v.  FDIC, 7  F.3d 1054,  1056 (1st  Cir.
                         ___  ____     ____

          1993).

                    Rule 15 permits  the trial court to deny  leave to file

          an   amended  complaint  which  would  be  subject  to  immediate

          dismissal under Rule 12(b)(6) for failure to state a viable claim

          for relief.  See Foman v. Davis, 371 U.S. 178, 182  (1962); Mills
                       ___ _____    _____                             _____

          v. State  of Me.,  118 F.3d  37, 55  (1st Cir. 1997).   The  Town
             _____________

          cannot be held vicariously liable in an action under section 1983

                              
          ____________________

               10We review  the Rule 15  decision for abuse  of discretion.
          RTC v. Gold, 30 F.3d 251, 253 (1st Cir. 1994).
          ___    ____

                                          11














          unless  its official  policy  or custom  was  the "moving  force"

          behind  the  alleged  violation of  constitutional  rights.   See
                                                                        ___

          Monell,  436 U.S. at 694.11   Normally, therefore, a municipality
          ______

          cannot be  held  liable unless  its agent  actually violated  the

          victim's  constitutional rights.    See City  of  Los Angeles  v.
                                              ___ _____________________

          Heller, 475 U.S. 796,  799 (1986) ("If  a person has suffered  no
          ______

          constitutional injury  at the  hands of  [any] individual  police

          officer,  the fact that  the departmental regulations  might have

          authorized  [unconstitutional   action]  is   quite  beside   the

          point.").

                    Plaintiffs  simply allege that the Town is liable under

          section  1983 because Grayson established an official Town policy

          or custom of selective law  enforcement which in turn caused them

          injury.12   Since their  predicate claim  against Grayson  fails,

          however, see supra  Section II.A, so  must their contention  that
                   ___ _____

          any such discriminatory Town policy or custom existed.

                    Alternatively, of course, the Town could be held liable

          under  section  1983  were  it  to  appear  that  the  injury  to

          plaintiffs was  caused by  the Town's  failure to  train Grayson.
                                                 _______ __  _____

          The   liability  criteria  for  "failure  to  train"  claims  are

          exceptionally stringent, however.   See City of Canton v. Harris,
                                              ___ ______________    ______

          489 U.S. 378, 388-89, 391 (1989).
                              
          ____________________

               11Municipal  customs,   for     1983   purposes,  are  "such
          practices of state  officials ... [as are] so  permanent and well
          settled  as to constitute  a 'custom or usage'  with the force of
          law."  Id. at 691.
                 ___

               12We assume  arguendo that Grayson,  as police chief,  was a
                            ________
          Town policymaker with respect to law enforcement.

                                          12














                    Only if  the failure  to train  "amounts to  deliberate
                                                                 __________

          indifference to the  rights of persons with whom  the police come
          ____________

          into contact," and is "closely related" to, or "the moving force"

          behind,  the constitutional  injury, can  the  claim against  the

          municipality   prevail.    Id.   (emphasis  added).     For  this
                                     ___

          "deliberate  or  conscious  choice"  to  have  been  established,

          plaintiffs needed to present evidence that (1) the Town knew when

          it  hired  Grayson  that  the risk  of  future  equal  protection

          violations arising and  recurring in domestic child  sexual abuse

          cases  was "so  obvious" that  its failure  to train  him therein

          likely  would result in continued violations;  or (2) even though
                                                         __

          the initial risk  of recurring constitutional violations  was not

          "so   obvious,"  the  Town  subsequently  learned  of  a  serious

          recurrence, yet took no action to provide the necessary training.

          Id. at 390 &amp; n.10; see also  id. at 396 (O'Connor, J., concurring
          ___                ___ ____  ___

          in part).13
                              
          ____________________

               13We  have considerable  doubt whether  the failure-to-train
               13
          claim survived either  the dismissal of the    1983 claim against
          Grayson,  individually, see  supra Section  II.A,  or the  Monell
                                  ___  _____                         ______
          policy-based claims against the Town and Grayson, in his official
          capacity,  supra.     If   Grayson  never   violated  plaintiffs'
                     _____
          constitutional  rights in the first instance,  it is difficult to
          see  how   a  failure  to   train  him  could  have   caused  any
                                                                ______
          "constitutional injury" to  plaintiffs.  Compare Evans  v. Avery,
                                                   _______ _____     _____
          100 F.3d  1033, 1040  (1st Cir. 1997)  (affirming dismissal  of  
          1983 substantive-due-process  claim against City where its agents
          were  found  not  to  have  violated  plaintiff's  constitutional
          rights) (citing Heller, 475 U.S. at 799), with Simmons v. City of
                                                         
                          ______                    ____ _______    _______
          Philadelphia, 947  F.2d 1042, 1063  (3d Cir. 1991)  (holding that
          ____________
          city  policymakers,  who  owed an  independent  duty  to pretrial
          detainees, were  individually liable  under    1983 for  prisoner
          suicide, even though  factfinder determined that the  turnkey had
          not violated prisoner's constitutional  rights); de Feliciano  v.
                                                           ____________
          de Jesus, 873 F.2d 447, 450 (1st Cir. 1989) ("There may well be a
          ________
          basis for  an agency's  liability other than  the conduct  of the

                                          13














                    To begin with, plaintiffs merely allege that "Lisbon is
                                                                         __

          a high crime  area in northern Grafton County [and]  that much or

          most  of the crime committed  in northern Grafton County involves
                                                                   ________

          domestic violence and sexual abuse."  (Emphasis added.)  There is

          no allegation that these circumstances obtained in 1975, however,

          when Grayson became the police  chief.  No less importantly, even

          assuming similar  circumstances prevailed  in 1975,  the need  to

          train Grayson was not "so obvious, [nor] the [alleged] inadequacy

          [of  the  training] so  likely  to  result  in the  violation  of

          constitutional rights, that the [Town]  can reasonably be said to

          have been deliberately  indifferent to the need  [for training]."

          City of Canton, 489 U.S. at 390.
          ______________

                    It bears  reminding that  the gravamen  of the  amended

          complaint  is not  that Grayson  did  not adequately  investigate

          these allegations, but that he purposely chose not to investigate

          them  at all.    It  is reasonable  to  observe, therefore,  that

          whatever relevant training the Town  failed to give Grayson would
                   ________

          not  have  entailed   specialized  law-enforcement  investigatory

          skills, but  simply  the commonplace  understanding  that  police

          officers  may not deny law-enforcement protection based simply on

                              
          ____________________

          individual defendants that the jury exonerated.").  See generally
                                                              ___ _________
          Barbara Kritchevsky, Making  Sense of State of  Mind: Determining
                               ____________________________________________
          Liability in Section 1983 Municipal Liability Litigation, 60 Geo.
          ________________________________________________________
          Wash.  L. Rev. 417,  445-73 (1992) (summarizing  conflicting case
          law).   Nevertheless,  assuming arguendo  that  dismissal of  the
                                          ________
          individual-capacity claim  against Grayson would  not necessitate
          dismissal of  the failure-to-train  claim against  the Town,  the
          proffered amendment would  still be futile  due to the  stringent
          definition of  "deliberate  indifference" prescribed  in City  of
                                                                   ________
          Canton.
          ______

                                          14














          their  arbitrary  classifications  of  various  groups  of  crime

          victims.

                    Thus,  the  amended  complaint  asserted no  sufficient

          basis  for  concluding that  Town policymakers  reasonably should

          have anticipated that a  new police chief would need  specialized

          instruction in so  rudimentary a law-enforcement  responsibility,

          nor  that  the  Town had  been  put  on notice  that  such equal-

          protection violations  were routine occurrences in domestic child

          sexual abuse cases, either locally or elsewhere.  Rather,  unlike

          many other  law-enforcement responsibilities,  cf., e.g.,  id. at
                                                         ___  ____   ___

          390 &amp;  n.10 (noting  that it might  be considered  "obvious" that

          armed police  officers assigned  to arrest  fleeing felons  would

          need instruction  regarding constitutional limitations  on proper

          use  of deadly  force), the  Equal Protection Clause  bar against

          arbitrary law enforcement  is neither obscure nor  problematic of

          application.14
                              
          ____________________

               14City of Canton  requires not only  deliberate indifference
               14______________
          but that the alleged  failure to train be shown to  have been the
          "closely  related" cause  of the  constitutional injury.   Id. at
                                                                     ___
          390-91.  As Grayson was  a policymaking official, with discretion
          in law  enforcement matters,  plaintiffs were  required to  prove
          that he  acted with "purposeful  discrimination."  Yet  there has
                               __________
          been  no  showing that  whatever  training  was  not provided  to
          Grayson could have  thwarted any such  purposeful discrimination.
          Whereas  law enforcement training  might inform an  officer about
          the proper methods  to be used in mediating  and diffusing crimes
          of domestic violence, for example, it does not necessarily follow
          that an  officer intent  on discriminating  against a  particular
                           ______
          class  of  crime victims  would  be  deterred  from doing  so  by
          "enlightenment" training, especially  given the contraindications
          implicit  in  plaintiffs'  other  evidence  that  the  challenged
          decisionmaking by Grayson resulted from alcohol abuse, lassitude,
          or personal animosity  toward individuals.  See Angel  v. City of
                                                      ___ _____     _______
          Fairfield, 793  F.2d 737, 739  (5th Cir. 1986) ("Here,  Angel has
          _________
          failed to allege how the failure  to train resulted in the denial

                                          15














                    Finally,  plaintiffs have not alleged that the Town was

          ever placed  on notice  that Grayson, after  he was  appointed in
                                                _____

          1975,  routinely violated the equal protection rights of citizens

          by engaging  in  selective and  arbitrary law  enforcement.   See
                                                                        ___

          Swain v. Spinney,  117 F.3d 1, 11 (1st Cir. 1997) (lack of notice
          _____    _______

          of  prior  constitutional   violations  defeats  failure-to-train

          claim).   Accordingly, we conclude that the proposed amendment to

          the complaint would have been futile.15

                    Needless   to   say,  our   conclusion   represents  no

          endorsement of the  conduct with which Grayson is  charged in the

          complaint.  It would be dereliction of duty for a police chief to

          turn  over  to private  parties  the decision  whether  a serious

          offense should  be pursued and it  is hard to imagine  what might

          justify telling a  complainant falsely that the  prosecutor would

          have no interest in the  complaint.  Nevertheless, not every form

          of misconduct is  a constitutional violation    most  wrongs find

          their remedy under state law    and our present holding is simply

          that the allegations made in the complaint do not properly assert

          a violation of the Equal Protection Clause.

                    Affirmed.
                    Affirmed.
                    ________




                              
          ____________________

          of his right to equal protection of the laws.").

               15As no "federal question" claims remain, we also affirm the
          district  court's  discretionary  decision  not to  exercise  its
          supplemental jurisdiction over  plaintiffs' state-law claims  for
          negligence  and  intentional  infliction  of  emotional  distress
          against the Town and Grayson.  See 28 U.S.C.   1367(c)(3).
                                         ___

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